




Dismissed and Memorandum Opinion filed March 12, 2009








&nbsp;

Dismissed
and Memorandum Opinion filed March 12, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-01151-CR

____________

&nbsp;

WAYNE MICHAEL MILONE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
412th District Court

Brazoria County,
Texas

Trial Court Cause No.
53,022

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not issued an
opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Panel consists of Justices Yates,
Guzman, and Sullivan.

Do not publish C Tex.
R. App. P. 47.2(b).





